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      UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF CALIFORNIA

DAVID STEBBINS,                                                               PLAINTIFF

VS.                                    Case 3:22-cv-04082-AGT

JOHN DOE, d.b.a. “CMDR IMPERIALSALT” & “ZELLZANDER”                           DEFENDANTS

        RESPONSE IN OPPOSITION TO (DKT. 60) MOTION FOR SANCTIONS
       Comes now, pro se Plaintiff David Stebbins, who hereby submits the following Response
in Opposition to the Defendant's Motion for Sanctions (Dkt. 60) in the above-styled action.
1.     The Defendant's motion is an incoherent mess, but from what I am able to discern from
his babbling, his grounds for this motion seems to be the following: I sent him drafts for two
motions for sanctions and told him that I plan to file them within three weeks unless his frivolous
arguments were withdrawn. He apparently considers me sending him those emails to be threats
and, therefore, harassment.
2.     For the following reasons, the motion should be denied:
3.     First, because, by the defendant's own admission, I have not filed those two motions with
the Court yet, they aren't even subject yet to Rule 11 in the first instance. They will become
governed by Rule 11 once they are filed, but by the defendant's own admission, that hasn't
occurred yet.
4.     Second, the Defendant seems to believe that it was inappropriate harassment for me to
send the motions to him first before filing them. It wasn't. In fact, that process is specifically
prescribed in Fed.R.Civ.P. 11(c)(2) (“The motion must be served under Rule 5, but it must not be
filed or be presented to the court if the challenged paper, claim, defense, contention, or denial is
withdrawn or appropriately corrected within 21 days after service”). So all I was doing was
precisely what the law required me to do in this case. It was not inappropriate and it was not
harassment.
5.     Third, the Defendant produces absolutely no evidence whatsoever that the serving of


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those two motions was designed solely to harass him. His entire argument is “The Defendant
believes this to be a piece of strong evidence that the sole purpose of this case is to harass the
Defendant by utilizing the process of the court. This action could only be committed as a
malfeasant act.”
6.      What the Defendant “believes” to be true means absolutely nothing. He says it “could
only” be a malicious act, but that is not evidence. That is merely an argument from incredulity,
which is to say, it's not an argument at all.
7.      Wherefore, premises considered, I respectfully pray that the Defendant's motion for
sanctions be denied.
       So requested on this, the 28th day of June, 2024.
                                                                                 /s/ David Stebbins
                                                                             David Stebbins (pro se)




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